68 F.3d 460
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Mary J. HAMRICK, Petitioner,v.DIRECTOR, OFFICE OF WORKERS' COMPENSATION PROGRAMS, UnitedStates Department of Labor;  Bethlehem MinesCorporation, Respondents.
    No. 95-2192.
    United States Court of Appeals, Fourth Circuit.
    Oct. 23, 1995.
    
      Mary J. Hamrick, Petitioner Pro Se.
      Christian P. Barber, Jennifer U. Toth, UNITED STATES DEPARTMENT OF LABOR, Washington, D.C.;   William Steele Mattingly, JACKSON &amp; KELLY, Morgantown, West Virginia, for Respondents.
      Before WILKINSON, NIEMEYER, and LUTTIG, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks review of the Benefits Review Board's decision and order and order on reconsideration affirming the administrative law judge's denial of black lung benefits pursuant to 30 U.S.C.A. Secs. 901-945 (West 1986 &amp; Supp.1995).  Our review of the record discloses that the Board's decision is based upon substantial evidence and is without reversible error.  Accordingly, we affirm on the reasoning of the Board.  Hamrick v. Director, Office of Workers' Compensation Programs, No. 92-1466-BLA (B.R.B. Apr. 26, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    